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 8                                     UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11    NATHAN HUNTER,                                     Case No. 1:22-cv-00219-KES-SKO (PC)
12                        Plaintiff,                     ORDER REGARDING STIPULATION
                                                         FOR VOLUNTARY DISMISSAL WITH
13            v.                                         PREJUDICE
14    I. ROSALES, et al.,                                (Doc. 53)
15                        Defendants.
16

17           Plaintiff Nathan Hunter is a state prisoner appearing pro se and in forma pauperis in this

18   action pursuant to 42 U.S.C. § 1983.

19           Following a settlement conference held May 7, 2024, before Magistrate Judge Erica P.

20   Grosjean, and pursuant to the minutes for that proceeding, the parties agreed to settle the matter.

21   Dismissal documents were to be filed within 30 days. (See Docket Entry 52 [Minutes].)

22           On May 30, 2024, counsel for Defendants R. Covarrubias, R. Figueroa, J. Guardado-

23   Mendez, I. Rosales, and R. Volker filed a Stipulation for Voluntary Dismissal with Prejudice.

24   (Doc. 53.) The stipulation is signed and dated by Plaintiff Nathan Hunter and Patricia M. Kealy,

25   counsel for Defendants, and indicates that each party shall bear its own litigation costs and

26   attorney’s fees. (Id.)

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     Case 1:22-cv-00219-KES-SKO Document 54 Filed 05/31/24 Page 2 of 2


 1            Accordingly, this action is terminated by operation of law without further order from the

 2   Court. Fed. R. Civ. P. 41(a)(1)(A)(ii). The Clerk of the Court is directed to terminate all pending

 3   motions and deadlines and to close this case.

 4
     IT IS SO ORDERED.
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 6   Dated:     May 31, 2024                                    /s/ Sheila K. Oberto                 .
                                                        UNITED STATES MAGISTRATE JUDGE
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